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1    SONAL N. MEHTA (SBN 222086)
      Sonal.Mehta@wilmerhale.com
2    WILMER CUTLER PICKERING
      HALE AND DORR LLP
3    2600 El Camino Real, Suite 400
     Palo Alto, California 94306
4    Telephone: (650) 858-6000
     Facsimile: (650) 858-6100
5
     ARI HOLTZBLATT (pro hac vice)
6     Ari.Holtzblatt@wilmerhale.com
     MOLLY M. JENNINGS (pro hac vice)
7     Molly.Jennings@wilmerhale.com
     ALLISON SCHULTZ (pro hac vice)
8     Allison.Schultz@wilmerhale.com
     WILMER CUTLER PICKERING
9     HALE AND DORR LLP
     1875 Pennsylvania Ave, NW
10   Washington, DC 20006
     Telephone: (202) 663-6000
11   Facsimile: (202) 663-6363

12   Attorneys for Defendants
     FACEBOOK, INC. and
13   MARK ZUCKERBERG

14

15
                                   UNITED STATES DISTRICT COURT
16
                                  NORTHERN DISTRICT OF CALIFORNIA
17
                                        SAN FRANCISCO DIVISION
18
     CHILDREN’S HEALTH DEFENSE,
19                                                    Case No. 3:20-cv-05787-SI
                                    Plaintiff,
20
                                                      DEFENDANTS’ NOTICE OF MOTION
            v.
21                                                    AND MOTION TO DISMISS SECOND
     FACEBOOK, INC., ET AL.,                          AMENDED COMPLAINT;
22                                                    MEMORANDUM OF POINTS AND
                                    Defendants.       AUTHORITIES IN SUPPORT
23                                                    THEREOF
24
                                                      Hon. Susan Illston
25                                                    Courtroom 1 – 17th floor
                                                      Date: March 19, 2021
26                                                    Time: 10:00 a.m.
27

28

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1                           NOTICE OF MOTION AND MOTION TO DISMISS

2            PLEASE TAKE NOTICE THAT, on March 19, 2021 at 10:00am or as soon thereafter as the

3     matter may be heard, in Courtroom 1 of the U.S. District Court for the Northern District of

4     California, San Francisco Division, this Motion to Dismiss will be heard. Facebook, Inc. and Mark

5     Zuckerberg move to dismiss the Second Amended Complaint (“SAC”) pursuant to Federal Rule of

6     Civil Procedure 12(b)(6). This Motion to Dismiss is based on this Notice of Motion, the

7     Memorandum of Points and Authorities, and the supporting Declaration of Molly M. Jennings.

8                                 STATEMENT OF REQUESTED RELIEF

9            Pursuant to Federal Rule of Civil Procedure 12(b)(6), Facebook and Mark Zuckerberg request

10    that the Court dismiss the Second Amended Complaint with prejudice.

11                          MEMORANDUM OF POINTS AND AUTHORITIES

12           This lawsuit asks the Court to step outside its role as adjudicator of legal disputes and instead

13    become an arbiter of truth in what Children’s Health Defense (“CHD”) calls the “open controversy”

14    over vaccine safety. SAC ¶ 149. According to CHD, “[u]nvaccinated kids are healthier” than

15    vaccinated children, id. ¶ 131, and vaccines are responsible for infant deaths, id. ¶ 157. Third-party

16    independent fact-checkers designated those and other vaccine-related posts as containing false

17    information and provided explanations supporting those designations. Facebook labeled those posts

18    according to the fact-checkers’ conclusions, and provided its users with the fact-checkers’ reasoning

19    so that users could evaluate the conclusions for themselves. Facebook also restricted CHD’s ability

20    to share information identified as false and limited CHD’s access to other functions.

21           CHD claims that Facebook’s fact-checking program violated its First Amendment rights,

22    restrained it from competing in the marketplace of vaccine “messages,” SAC ¶ 333, and constituted

23    a RICO enterprise. Those claims turn the First Amendment on its head. The First Amendment is a

24    shield from government action—not a sword to be used in private litigation. It is therefore

25    unsurprising that the SAC contains numerous independent and incurable defects.

26           First, the SAC does not state a Bivens claim because it does not allege federal action.

27    Facebook and Mr. Zuckerberg are private actors. Facebook exercised its own editorial discretion to

28    reduce the visibility of posts identified by independent fact-checkers as containing false or partially
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1     false information. None of the challenged conduct is attributable to the federal government.

2            Second, far from violating the First Amendment, Facebook’s decisions to label and limit the

3     visibility of CHD’s content are themselves protected by the First Amendment. This Court may not

4     hold Facebook or Mr. Zuckerberg liable for exercising editorial discretion with respect to matters

5     of public concern. And even if the First Amendment did not fully bar CHD’s claims, it requires that

6     CHD, at minimum, plausibly allege that Facebook acted with actual malice. The SAC fails to do so,

7     even though Defendants’ motions to dismiss unquestionably put CHD on notice of this defect.

8            Third, Section 230 of the Communications Decency Act (“CDA”) shields Facebook from

9     liability for publishing third-party fact checks or restricting access to CHD’s content. None of the

10    SAC’s allegations concerning the relationship between Facebook and third-party fact-checkers strip

11    Facebook or Mr. Zuckerberg of that protection.

12           Fourth, the Lanham Act claim fails because CHD has not identified a commercial injury that

13    gives it standing under the Act. The Lanham Act protects those engaged in commerce against unfair

14    competition. Because CHD’s alleged injuries are to its interests as a consumer of Facebook’s free

15    service, not as a competitor, they are not cognizable under the Act. And CHD’s allegations do not

16    establish that the purportedly false statements are “promotional statements” covered by the Act.

17           Fifth, CHD has not stated a civil RICO claim because it has failed, even on its third bite at

18    the pleading apple, to identify any predicate acts of wire fraud. And CHD has alleged neither a

19    sufficiently “direct” injury to confer statutory standing nor a cognizable civil RICO “pattern.”

20           Sixth, the SAC additionally does not state a claim against Mr. Zuckerberg because it does not

21    allege that he was personally involved in any of the allegedly unlawful conduct. Nor has CHD

22    pleaded the necessary prerequisites for any theory of agency liability.

23           Seventh, though the SAC contains many paragraphs describing CHD’s views on 5G, CHD

24    nowhere connects those views to an actionable theory of liability.

25           None of these deficiencies can be cured by giving CHD a fourth attempt to plead its case.

26    Defendants identified these same problems in CHD’s original complaint, and CHD responded by

27    amending not once, but twice. Those amendments added almost 60 pages and almost 150

28    paragraphs—consisting primarily of legal conclusions and argument instead of relevant factual
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1     allegations—without curing any of the original complaint’s fundamental deficiencies. The SAC’s

2     continued deficiencies prove that no amended allegations can convert Facebook and Mr. Zuckerberg

3     into federal actors subject to Bivens claims. No amended allegations can alter the defenses accorded

4     to Defendants by the First Amendment and Section 230. And no amended allegations could bring

5     CHD’s Lanham Act claim within the zone of interests protected by the statute or turn Defendants’

6     actions here into an actionable RICO conspiracy. The SAC should be dismissed with prejudice.

7                                              BACKGROUND

8           A.      Third-Party Fact-Checkers Identify Misinformation On The Facebook Platform

9            CHD alleges that Facebook is a social media website with 2.2 billion users worldwide. SAC

10    ¶ 7. Facebook users can maintain Facebook profiles or create Pages; share status updates, photos,

11    videos, and stories on those profiles or Pages; and browse for content through their News Feed.

12    Facebook, Terms of Service, https://tinyurl.com/64b26g (last accessed Dec. 21, 2020). 1

13           As part of its “commit[ment] to fighting the spread of misinformation,” Facebook has

14    developed a fact-checking program to identify false or misleading information. Facebook for

15    Business, Fact-Checking on Facebook, https://tinyurl.com/y33wyhe2 (last accessed Dec. 21, 2020)

16    (Jennings Decl. Ex. 1 at 1). 2 Facebook “rel[ies] on independent fact-checkers”—like Defendants

17    Science Feedback and PolitiFact, SAC ¶¶ 217, 221—“to identify and review potential

18    misinformation” because it does “not believe that a private company like Facebook should be the

19    arbiter[] of truth.” Facebook Journalism Project, How Our Fact-Checking Program Works,

20    https://tinyurl.com/y57sx6n3 (last accessed Dec. 21, 2020) (Jennings Decl. Ex. 2 at 2). 3 The third-

21    party fact-checkers “are certified through the non-partisan International Fact-Checking Network

22    (IFCN).” Jennings Decl. Ex. 1 at 1. Fact-checkers review potentially misleading information and

23

24
      1
        The SAC incorporates the Terms of Service by reference; they therefore may be considered in
25    deciding this Motion to Dismiss. See SAC ¶¶ 35-39; Knievel v. ESPN, 393 F.3d 1068, 1076-77 (9th
      Cir. 2005) (considering website under “‘incorporation by reference’ doctrine”).
26    2
        The SAC also incorporates this webpage by reference. See SAC ¶ 218.
      3
27      The Court may take judicial notice of the existence and content of this website. See Threshold
      Enters. Ltd. v. Pressed Juicery, Inc., 445 F. Supp. 3d 139, 146 (N.D. Cal. 2020). It cannot reasonably
28    be disputed that Facebook made the quoted statement as that fact can be readily determined from
      sources whose accuracy cannot reasonably be disputed. See id. at 145.
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1     rate it as false, altered, partly false, missing context, satire, or true. Id.; SAC ¶ 218.

2              When users share content identified as containing false information, Facebook responds by

3     “surfacing fact-check articles … and showing labels on top of false stories.” Jennings Decl. Ex. 2

4     at 2. When a user shares a link that fact-checkers have flagged as containing false information, the

5     image previewing the link is covered by a transparent grey overlay identifying the link as containing

6     “False” or “Partly False Information.” E.g., SAC ¶¶ 126, 133. The grey overlays allow the user to

7     click to “See [the] Link” that fact-checkers identified as containing false information and also to

8     click a button to “See Why” the link was so identified. E.g., id. ¶ 157. Upon clicking “See Why,”

9     the user sees the fact-checker’s summary describing the nature of the designation, such as “false”

10    or “partly false”; a definition of that designation; the fact-checker responsible for the designation;

11    and a brief explanation. See, e.g., id. ¶¶ 143, 159. Users can click on the summary for more detail.

12    E.g. id. ¶¶ 145, 160. Content rated “False, Altered or Partly False[ ] will [also] appear lower in News

13    Feed … and be featured less prominently in Feed and Stories.” Jennings Decl. Ex. 1 at 2.

14             Facebook also takes action against Pages that repeatedly share information fact-checkers rate

15    as “False” or “Altered.” Jennings Decl. Ex. 1 at 2. Facebook may, for example, reduce the

16    distribution of such Pages or remove their ability to advertise or solicit donations on Facebook. Id.

17              As relevant here, Facebook announced in March 2019 that it would “reduce the ranking of

18    groups and Pages that spread misinformation about vaccinations in News Feed and Search” and

19    “remove access to our fundraising tools for Pages that spread misinformation about vaccinations.”

20    Bickert,       Combatting      Vaccine      Misinformation,       FACEBOOK         (Mar.     7,     2019),

21    https://tinyurl.com/yyazbumc (Jennings Decl. Ex. 3 at 2-3). 4 Six months later, Facebook announced

22    that it was “starting to roll out more ways to connect people with authoritative information about

23    vaccines on Facebook,” including links to the World Health Organization’s (“WHO”) website,

24    “when people come across misinformation on this topic.” Id.

25

26

27

28    4
          The SAC quotes this article at length, see ¶ 68, thereby incorporating it by reference.
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1            B.      Facebook Labels and Demotes CHD Content Identified By Third-Party Fact-

2                    Checkers As Containing False Information

3            CHD uses its Page to share articles and videos, including pieces concerning “the risks and

4     harmful effects of chemical exposure upon prenatal and children’s health, including from particular

5     vaccines.” SAC ¶ 14; see also id. ¶¶ 30, 33.

6            Between January 15, 2019, and September 28, 2020, third-party fact-checkers labeled

7     numerous CHD vaccine- and public-health related posts as containing false or partly false

8     information, causing Facebook to apply various restrictions to the underlying content. E.g., SAC

9     ¶¶ 115, 118, 126, 131, 141, 157. For example, on May 28, 2020, Facebook displayed a grey overlay

10    with the text “False Information Checked by independent fact-checkers” to a link to an article

11    CHD shared claiming “[v]accinated children are more likely to have adverse health outcomes.” Id.

12    ¶ 134. Upon clicking the “See Why” button, users were informed that Science Feedback identified

13    the article as containing false information because “[v]accinated children do not have greater risk

14    of adverse health outcomes in comparison to unvaccinated.” Id. ¶ 133. Users could click on the

15    summary to further read that Science Feedback identified the claim as “unsupported” because it is

16    “based on a single study which used highly biased methods”; “failed to control for confounding

17    factors in its comparison of vaccinated and unvaccinated children,” such as “healthcare-seeking

18    behavior”; and “used patient data from handpicked pediatric clinics only.” Id.¶¶ 134-135.

19           In addition to displaying overlays on individual posts, Facebook took action against CHD at

20    the account level as a result of CHD’s repeated violations of Facebook’s policy against sharing

21    misleading vaccine information, as identified by the fact-checkers. In May 2019, for example,

22    Facebook deactivated the “donate” button on CHD’s page, SAC ¶ 198, and barred CHD from buying

23    new Facebook ads, id. ¶ 199. And on September 4, 2019, Facebook published the following text at

24    the top of CHD’s Facebook Page: “This Page posts about vaccines. When it comes to health,

25    everyone wants reliable, up-to-date information. The Centers for Disease Control (CDC) has

26    information that can help answer questions you may have about vaccines. Go to CDC.gov.” Id. ¶ 70.

27

28
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1                                                 ARGUMENT

2     I.     CHD HAS NOT STATED A BIVENS CLAIM (COUNT 1)

3             CHD claims that Facebook and Mr. Zuckerberg violated its First Amendment rights by

4     labeling as “false,” demoting, and removing its posts, SAC ¶¶ 309, 318, 325, and violated its Due

5     Process rights by disabling the “donate” button on its Facebook Page, id. ¶ 319. CHD seeks damages

6     for those alleged deprivations under Bivens v. Six Unknown Named Agents of the Federal Bureau

7     of Narcotics, 403 U.S. 388 (1971), which created “an implied private action for damages against

8     federal officers alleged to have violated a citizen’s constitutional rights,” Correctional Servs. Corp.

9     v. Malesko, 534 U.S. 61, 66 (2001). But Bivens’s “narrow” remedy, Fazaga v. Federal Bureau of

10    Investigation, 965 F.3d 1015, 1052 n.31 (9th Cir. 2020), does not apply here. 5

11           A.      The SAC Does Not Allege Federal Action

12            Bivens typically provides a remedy only against “individual federal officers.” Malesko, 534

13    U.S. at 70 (emphasis added). It is applied to private actors only “sparingly,” Mathis v. PG&E Co.,

14    75 F.3d 498, 501 (9th Cir. 1996), and only where their conduct is so intertwined with that of federal

15    actors that “it is fair to attribute the challenged actions” to the federal government, Morse v. North

16    Coast Opportunities, Inc., 118 F.3d 1338, 1343 (9th Cir. 1997). Distinguishing private from federal

17    actors is no mere technicality; it is crucial to “preserv[ing] an area of individual freedom by limiting

18    the reach of federal law and federal judicial power.” Lugar v. Edmondson Oil Co., 457 U.S. 922,

19    936 (1982). This is particularly so here, because using the First Amendment to sanction private

20    conduct “could eviscerate certain private entities’ rights to exercise editorial control over speech

21    and speakers on their properties or platforms.” Manhattan Cmty. Access Corp. v. Halleck, 139 S.

22    Ct. 1921, 1932 (2019).

23            “The state action inquiry boils down to this: is the challenged conduct that caused the alleged

24    constitutional deprivation ‘fairly attributable’ to the state?” Belgau v. Inslee, 975 F.3d 940, 946 (9th

25    Cir. 2020) (citation omitted). The Supreme Court has outlined four tests to identify state action, only

26    two of which the SAC arguably attempts to invoke: (1) joint action, see SAC ¶¶ 307, 309, 312; and

27
      5
       This brief addresses only the defects in CHD’s claims against Facebook and Mr. Zuckerberg, but
28    the claims against the fact-checker defendants are flawed for similar reasons.
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1     (2) governmental nexus, see id. ¶¶ 312-313. 6 See Gorenc v. Salt River Project Agric. Improvement

2     & Power Dist., 869 F.2d 503, 506-509 (9th Cir. 1989). Here, Facebook made clear its own interest

3     in reducing the spread of vaccine misinformation on its platform, see Jennings Decl. Ex. 3, and then

4     took action—action attributable to Facebook and the fact-checkers, not the federal government—to

5     prevent that content from spreading further. CHD alleges federal action on the basis of Facebook’s

6     purported connections with Representative Adam Schiff, the CDC, the CDC Foundation, the WHO,

7     the State Department, the British Government, and InfraGard, a non-profit affiliated with the

8     Federal Bureau of Investigations (“FBI”). But even after multiple amendments, CHD has not alleged

9     facts showing that any of the challenged conduct is “fairly attributable” to the federal government.

10    Indeed, many of its allegations fail to establish any connection whatsoever between any federal

11    actor and the allegedly unlawful conduct.

12                    1.     Many Of The SAC’s Allegations Fail To Establish Any Connection To A

13                           Federal Actor

14              It should go without saying that to state a Bivens claim, CHD must allege some connection

15    to a federal actor, but many of CHD’s allegations fail to meet even that most basic requirement.

16    CHD claims “federal” action based on purported connections to the WHO, CDC Foundation,

17    InfraGard, and British government, SAC ¶ 102, 103, 308, 311—none of which are federal actors.

18        •    The WHO is an international organization comprised of representatives from 194 member
19             states. See About WHO, World Health Organization, https://tinyurl.com/y5ltbeaf (last

20             accessed Dec. 21, 2020). 7 Although the United States is a member of the WHO, a state’s

21             membership in a multilateral government body does not make that body’s conduct state

22             action. See NCAA v. Tarkanian, 488 U.S. 179, 183, 193 (1988).

23        •    The CDC Foundation and InfraGard are non-profit organizations. SAC ¶ 40; InfraGard,
24
      6
25      To the extent that CHD invokes the government compulsion test, it is inapplicable here. That test
      applies only to claims directly against government actors for conduct carried out by private actors.
26    See Sutton v. Providence St. Joseph Med. Ctr., 192 F.3d 826, 838 (9th Cir. 1999). Private actors
      cannot be held constitutionally liable for conduct compelled by the government. Id.
27    7
        Judicial notice is appropriate because this site is provided by a government entity and is “capable
      of accurate and ready determination by resort to sources whose accuracy cannot reasonably be
28    questioned.” Daniels-Hall v. National Educ. Ass’n, 629 F.3d 992, 999 (9th Cir. 2010).
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1              Overview, https://tinyurl.com/y5flz8ot (last accessed Dec. 21, 2020). 8 Although they are

2              government affiliated (the CDC Foundation with the CDC and InfraGard with the FBI),

3              affiliation alone does not make a non-profit a state actor. See, e.g., Lansing v. City of

4              Memphis, 202 F.3d 821, 825, 828 (6th Cir. 2000) (applying state-action test to government

5              affiliated non-profit). What’s more, the InfraGard journal, on which CHD relies to draw a

6              (tenuous) connection between InfraGard (and, by extension, the FBI) and the targeting of

7              vaccine misinformation, see SAC ¶ 103, displays a bright red disclaimer stating: “The

8              opinions in the InfraGard National Journal are those of the author(s) and not of the InfraGard

9              or of the Federal Bureau of Investigations.” InfraGard National Journal, InfraGard,

10             https://tinyurl.com/y47j345e (last accessed Dec. 21, 2020) (emphasis added). 9

11        •    And as for the British government, “acts by a foreign government and its officials cannot
12             constitute conduct under color of state law.” Lewis v. Google LLC, 461 F. Supp. 3d 938, 956

13             (N.D. Cal. 2020) (quotation marks omitted).

14                    2.      The SAC Fails To Allege Joint Action

15              Even where CHD identifies a federal actor, it still does not allege a connection sufficient to

16    establish that Defendants’ conduct is attributable to the federal government. CHD primarily relies

17    on the “joint action” theory, see SAC ¶ 307, which applies only where government “officials and

18    private parties have acted in concert in effecting a particular deprivation of constitutional rights.”

19    Franklin v. Fox, 312 F.3d 423, 445 (9th Cir. 2002) (quotation marks and citation omitted). The test

20    is narrowly focused, looking not at whether the private and federal actors simply have a “shared

21    goal,” id. at 445, but whether the federal government has “so far insinuated itself into a position of

22    interdependence with [the private entity] that it must be recognized as a joint participant in the

23    challenged activity.” Gorenc, 869 F.2d at 507 (alteration in original) (emphasis added). In Mathis,

24    for example, the Ninth Circuit held that PG&E’s decision to bar a contractor from entering its plant

25
      8
        This website is cited in the SAC (at ¶ 103) and is therefore incorporated by reference. Knievel, 393
26    F.3d at 1076-1077.
      9
27      The authors of the article cited, moreover, are the Chief Quality Officer at Northwell Health and a
      consultant at Sublett Consulting LLC, not federal actors. See Jarrett & Sublett, The Anti-Vaxxers
28    Movement and National Security, 2 InfraGard J. 24 (2019). This article is cited in the SAC (at ¶
      103) and therefore incorporated by reference.
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1     was not joint action, even where a state task force participated in the investigation leading to that

2     decision because the task force was not specifically “involved in the decision to exclude [the

3     contractor] from the plant.” 75 F.3d at 503-504.

4            Applied here, the joint-action doctrine would require CHD to plausibly allege that federal

5     actors worked with Defendants to demote, fact-check, or remove CHD’s content. The SAC falls far

6     short of this mark. As to the CDC and Representative Schiff, CHD alleges only that the CDC works

7     with Facebook to deliver health and vaccine-related information, SAC ¶¶ 49-51, 54, and that

8     Representative Schiff asked Facebook for information about its efforts to reduce the spread of

9     vaccine misinformation, including whether Facebook did anything “to prevent anti-vaccine videos

10    or information from being recommended to users,” id. ¶ 63. These allegations suggest, at most, a

11    general alignment to promote accurate vaccine-related information and not promote

12    misinformation. The SAC contains no allegations of any agreement or coordination to remove, fact-

13    check, or demote any content or restrict access to any fundraising tools, let alone to direct any such

14    actions towards CHD in particular. 10

15           CHD’s allegations regarding the IFCN and the Global Health Security Agenda (“GHSA”)

16    are even further afield. CHD claims that the State Department provides some funding to the IFCN,

17    SAC ¶ 98, but nowhere alleges that IFCN took any unlawful action. IFCN certifies the independent

18    fact-checkers, id. ¶ 105, but is not alleged to have engaged in any fact-checking itself. And while

19    Executive Order 13747 requires the State Department to implement the GHSA, the SAC does not

20    allege that the GHSA engages in, promotes, or encourages the removal of vaccine misinformation.

21    According to the SAC, the GHSA seeks to “improve immunization rates.” SAC ¶ 100. Even

22    assuming that Defendants shared that general goal, that is insufficient to allege federal action with

23

24
      10
        CHD also relies (SAC ¶ 52) on an out-of-context statement from Mr. Zuckerberg to allege that
25    Facebook “work[s] with” the CDC. In the cited video, Mr. Zuckerberg explains that Facebook
      “defer[s]” to fact-checkers and organizations like the CDC on “clear health guidelines on things that
26    could lead to imminent harm if people don’t follow them.” AXIOS on HBO: Mark Zuckerberg on
      Misinformation, https://tinyurl.com/y8gqvaxt (last accessed Dec. 21, 2020). Deferring to
27    government guidelines does not establish state action any more than following government
      regulation does. See Morse, 118 F.3d at 1341. Rather, joint action requires active government
28    “insinuat[ion] … in the challenged activity,” Gorenc, 869 F.2d at 507, and CHD never alleges that
      the CDC did anything at all, much less involve itself in any decision with respect to CDC’s content.
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1     respect to the specific conduct alleged here. See Franklin, 312 F.3d at 445; see also Gallagher v.

2     Neil Young Freedom Concert, 49 F.3d 1442, 1455 (10th Cir. 1995).

3                    3.      The SAC Fails To Allege A Sufficient Governmental Nexus

4             The SAC also fails to allege state action under the “nexus” test. This test asks “whether there

5     is a sufficiently close nexus between the State and the challenged action of the [private] entity so

6     the action of the latter may be fairly treated as that of the state itself.” Gorenc, 869 F.2d at 506

7     (quoting Jackson v. Metropolitan Edison Co., 419 U.S. 345, 351 (1974)). This generally requires

8     “public entwinement in the management and control” of private entities. Brentwood Academy v.

9     Tennessee Secondary School Athletic Ass’n, 531 U.S. 288, 296-297 (2001). Mere regulation, even

10    if “extensive,” is insufficient. Jackson, 419 U.S. at 350-351. For example, in Kirtley v. Rainey, the

11    Ninth Circuit found no nexus between court-appointed guardians ad litem and the state to attribute

12    the former’s conduct to the latter, even where the guardians were appointed, paid, and regulated by

13    the state. 326 F.3d 1088, 1094-1095 (9th Cir. 2003).

14            The SAC alleges no federal management or control over the conduct at issue. CHD would

15    have this Court infer federal control from Representative Schiff’s statements “that Congress could

16    or should ‘make changes’” to Section 230 immunity if social media companies do not address

17    misinformation. SAC ¶ 366. But the statements of a single representative regarding what Congress

18    might “have to think about,” id., establish at most “regulatory interest in a problem,” which does

19    not “transform[] any subsequent private efforts to address the problem (even those expressly

20    designed to obviate the need for regulation) into state action.” Mathis, 75 F.3d at 503.

21            And CHD is wrong that the immunities provided in Section 230 together with “official

22    pressure” combine to create state action. SAC ¶¶ 297-300. CHD attempts to concoct a new state-

23    action test by stitching together two unrelated and inapposite cases. It relies first on Skinner v.

24    Railway Labor Executives’ Association, where the Supreme Court held that breath and urine tests

25    performed in accordance with federal regulations were government searches subject to Fourth

26    Amendment scrutiny. 489 U.S. 602, 614-615 (1989). But the “official pressure” there went far

27    beyond a letter from a single Congressperson. Skinner concerned federal regulations that not only

28    authorized railroads to require employees to submit to the breath and urine tests, but also “set forth
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1     procedures for the collection of samples” and precluded railroads from “divest[ing] [themselves] of,

2     or otherwise compromis[ing] by contract, the authority conferred by [the regulation].” Id. at 611-

3     612, 615. Nothing remotely similar is alleged here. Section 230 says nothing about the removal of

4     vaccine misinformation. And CHD identifies no other affirmative legal obligations of the sort at

5     issue in Skinner.

6             To fill the gap, CHD points to Bantam Books, Inc. v. Sullivan, 372 U.S. 58 (1963), for the

7     proposition that “informal governmental pressure and threats can turn private-party conduct into

8     state action.” SAC ¶ 300. But Bantam Books says no such thing. That case concerned a First

9     Amendment challenge directly to a governmental commission tasked with investigating violations

10    of an obscenity law, 372 U.S. at 59-61, and holds that informal governmental sanctions—such as

11    threatening to recommend prosecution—can give rise to a First Amendment violation. Id. at 66-67.

12    It did not consider, much less hold, that informal pressure turns private conduct into state action.

13    Neither Skinner nor Bantam Books—read together or separately—provide CHD the claim it seeks.

14            Finally, CHD cannot turn its pleading deficiencies into cause for discovery. Calling the

15    government’s purported role “non-obvious,” SAC ¶ 104, neither excuses CHD’s failure to allege a

16    sufficient connection between any federal actor and the conduct at issue nor authorizes a fishing

17    expedition. Despite multiple bites at the apple, CHD has not alleged any facts sufficient to “allow[]

18    the court to draw the reasonable inference that the [government] is liable for the misconduct

19    alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Its Bivens claim must, therefore, be dismissed

20    with prejudice.

21           B.      Neither Facebook Nor Mark Zuckerberg Is A Proper Bivens Defendant

22            CHD’s Bivens claim independently fails because Facebook and Mr. Zuckerberg are not

23    proper Bivens defendants. Bivens is a remedy against individuals, not entities. See FDIC v. Meyer,

24    510 U.S. 471, 485 (1994). “The purpose of Bivens is to deter individual federal officers from

25    committing constitutional violations.” Malesko, 534 U.S. at 70 (emphasis added). Because claims

26    against “corporate defendant[s]” do not serve that purpose, they are “foreclosed.” Id. at 71.

27            As to Mr. Zuckerberg, the SAC does not plausibly allege that he, “through [his] own

28    individual actions, has violated the Constitution.” Iqbal, 556 U.S. at 676. The SAC asserts in
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1     conclusory fashion that “it may be reasonably inferred that Zuckerberg was personally and directly

2     involved” in decisions to take action with respect to CHD, SAC ¶ 65, but does not allege the facts

3     necessary to “allow[] the court to draw [that] inference,” Iqbal, 556 U.S. at 678. The SAC alleges

4     only that Mr. Zuckerberg has a personal interest in vaccines, SAC ¶¶ 8, 275, 277; that he is aware

5     of and involved at a very high level with Facebook’s efforts to remove misinformation, id. ¶¶ 74,

6     84, 206, 268; and that he has been personally involved in some other decisions about whether to

7     remove content unrelated to vaccines, id. ¶¶ 216, 271. Those allegations do not permit any

8     reasonable inference of personal constitutional liability.

9            C.      The Bivens Claim Requires An Unwarranted Expansion Of Bivens Liability

10            CHD’s Bivens claim also should be dismissed because applying Bivens here would be

11    “different in a meaningful way from previous Bivens cases,” Ziglar v. Abbasi, 137 S. Ct. 1843, 1859

12    (2017). No court has applied Bivens to hold a social-media platform, much less its executives, liable

13    for exercising editorial judgment. The absence of precedent is meaningful here because this case

14    would raise First Amendment concerns not addressed in previous Bivens cases. See infra pp.12-16.

15    That is a significant problem for CHD, because “expanding the Bivens remedy is now a ‘disfavored’

16    judicial activity,” id. at 1857, and courts must not expand Bivens where “special factors counsel[]

17    hesitation” and “alternative remed[ies]” are available, Carlson v. Green, 446 U.S. 14, 18 (1980).

18    II.    THE FIRST AMENDMENT BARS THE REMAINDER OF CHD’S CLAIMS

19           (COUNTS 2 & 3)

20            CHD has the relevant First Amendment interests exactly backwards. Whether “fair or

21    unfair,” content-related decisions by private actors—particularly regarding “treatment of public

22    issues”—generally cannot be regulated “consistent with First Amendment guarantees.” Miami

23    Herald Publ’g Co. v. Tornillo, 418 U.S. 241, 258 (1974); see also La’Tiejira v. Facebook, Inc., 272

24    F. Supp. 3d 981, 991 (S.D. Tex. 2017) (citing Tornillo, 418 U.S. at 258).

25            And just as the government may not punish private actors like Facebook and Mr. Zuckerberg

26    for their editorial decisions, private citizens may not invoke civil law and the power of the courts to

27    reach those same ends. See New York Times Co. v. Sullivan, 376 U.S. 254, 277 (1964). Yet that is

28    precisely what CHD seeks to do here. CHD asks this Court to hold Facebook and Mr. Zuckerberg
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1     liable for publishing a warning label on CHD’s Facebook Page, allowing third parties to publish

2     fact-checks in connection with several CHD posts, and for limiting CHD’s visibility and reach on

3     the platform by demoting or removing some of its content. See, e.g., SAC ¶¶ 55, 114, 209. The First

4     Amendment protects each of those challenged actions.

5            A.      The First Amendment Fully Protects Facebook’s Statements and Content-

6                    Moderation Decisions

7             The First Amendment’s protections are at their apex with respect to the kind of speech at

8     issue here, i.e., speech related to “matters of public concern.” Snyder v. Phelps, 562 U.S. 443, 452-

9     453 (2011). Whether speech is of public or private concern is determined based on its “content,

10    form, and context,” id. at 453-454, and here each shows the public nature of Facebook’s speech.

11    The content of the speech at issue—the veracity of public-health information—is a matter of public

12    concern. See, e.g., Lee v. Nicholl, 197 F.3d 1291, 1296 (10th Cir. 1999). And the form and context

13    of the speech—warnings and labels on CHD’s Page, aimed at members of the public who may view

14    CHD’s Page and posts—further supports its public nature. See Snyder, 562 U.S. at 454.

15    Accordingly, Facebook and Mr. Zuckerberg may not be held liable for the content of the challenged

16    speech. See id. (government may regulate only time, place, and manner of protected speech).

17            Facebook denies that any of these statements or labels are false, but the alleged falsity of the

18    speech acts described in the SAC does not make them any less protected. There is no “general

19    exception to the First Amendment for false statements.” United States v. Alvarez, 567 U.S. 709, 718

20    (2012). Rather, false speech may be regulated in only a few narrow circumstances, id. at 717, none

21    of which are relevant here. The warnings and fact-checks are not false advertising, see infra pp.20-

22    22, they are not fraudulent, see infra pp.23-25, and CHD does not assert a claim for defamation.

23    Accordingly, the challenged speech is fully protected even if false.

24            Moreover, the labels on CHD’s posts did not simply claim that those posts contained false

25    information; they also provided detailed explanations from fact-checkers outlining the reasons for

26    each label. Sharing a conclusion together with “the factual basis for [that] conclusion … is protected

27    by the First Amendment.” Partington v. Bugliosi, 56 F.3d 1147, 1156 (9th Cir. 1995). Each fact-

28    check overlay contained a “See Why” button enabling readers to see who identified the relevant
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1     post as containing false information and on what basis. See, e.g., SAC ¶¶ 157-160, 193. It was thus

2     clear to readers that the fact-check label “represent[ed] the [fact-checker’s] interpretation of the facts

3     presented,” and readers were “free to draw [their] own conclusions based upon those facts.”

4     Partington, 56 F.3d at 1156. While CHD might disagree with the fact-checkers’ conclusions, they

5     are not actionable. See id. (interpretations of disclosed facts not actionable).

6             The First Amendment also protects the decision to remove or reduce the distribution of

7     certain content or restrict access to certain features by those who repeatedly share misinformation.

8     As to content moderation, the First Amendment protects the “exercise [of] editorial control and

9     judgment,” including the “choice of material” allowed on the Facebook platform. Miami Herald,

10    418 U.S. at 258. Accordingly, filtering or demoting content is protected speech activity, see Jian

11    Zhang v. Baidu.com Inc., 10 F. Supp. 3d 433, 443 (S.D.N.Y. 2014) (First Amendment protects

12    decision to block content from search results); accord Langdon v. Google, Inc., 474 F. Supp. 2d

13    622, 629-630 (D. Del. 2007) (similar); Search King Inc. v. Google Tech., Inc., 2003 WL 21464568,

14    at *4 (W.D. Okla. May 27, 2003) (similar), as is removing content, see Pacific Gas & Elec. Co. v.

15    Public Utilities Comm’n of Cal., 475 U.S. 1, 16 (1986) (First Amendment protects “the choice of

16    what not to say”). The same is true of decisions to restrict access to advertising or fundraising tools.

17    Advertisements and fundraising solicitations carry messages—even if not always “narrow [and]

18    succinctly articulable”—and private actors cannot be compelled to carry others’ messages. See

19    Hurley v. Irish Am. Gay, Lesbian & Bisexual Grp. of Bos., 515 U.S. 557, 569-570 (1995).

20           B.      CHD Cannot Recover For Alleged False Statements Absent Actual Malice

21            The warnings and fact-checks described in the SAC are also not actionable because—despite

22    notice of the defect and multiple attempts to remedy it—CHD has not alleged actual malice. CHD

23    is a limited-purpose public figure for what it characterizes as the debate over vaccine safety because:

24    (1) it alleges that a public controversy regarding vaccine safety existed when the statements at issue

25    were made, see, e.g., SAC ¶¶ 8, 26, 228-240; (2) the alleged false statements related to CHD’s

26    participation in that controversy, see, e.g., id. ¶ 70; and (3) CHD voluntarily injected itself into that

27    controversy for the purpose of influencing its resolution, see, e.g., id. ¶¶ 14-15. See Makaeff v.

28    Trump Univ., LLC, 715 F.3d 254, 266 (9th Cir. 2013) (laying out test).
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1            Because CHD is a limited public figure, it must allege actual malice (i.e., knowledge that

2     the warning and fact-checks were false or reckless disregard for their truth or falsity) to hold

3     Facebook or Mr. Zuckerberg liable here. See Sullivan, 376 U.S. at 279-280. This standard applies

4     to both Lanham Act false-advertising claims, see Eastwood v. National Enquirer, Inc., 123 F.3d

5     1249, 1250-1251 (9th Cir. 1999), and civil RICO claims based on fraud, Savage v. Council on Am.-

6     Islamic Relations, Inc., 2008 WL 2951281, at *12 (N.D. Cal. July 25, 2008). CHD therefore must

7     allege with specificity that Defendants had “a ‘high degree of awareness of … probable falsity’ or

8     must have … ‘entertained serious doubts as to the truth of [the] publication.’” Harte-Hanks

9     Commc’ns, Inc. v. Connaughton, 491 U.S. 657, 667 (1989).

10           Even after two amendments, CHD has not alleged facts sufficient to show actual malice.

11    Indeed, the primary allegation regarding malice added to the SAC is the conclusory refrain that

12    Facebook “w[as] aware, or acted in reckless disregard of, … specific falsities” in its statements. See

13    e.g., SAC ¶¶ 120, 128, 138, 149. Such conclusory allegations of malice must be disregarded. See

14    Resolute Forest Prods.. v. Greenpeace Int’l, 302 F. Supp. 3d 1005, 1019 (N.D. Cal. 2017). Setting

15    those allegations aside, CHD alleges malice only on the basis of its fantastical claim that Defendants

16    were purportedly motivated “to profit from their unfettered development of vaccines and 5G

17    networks, id. ¶ 359, and CHD’s March 24, 2019 letter to Facebook, id. ¶ 65. Neither is sufficient. 11

18           As to Defendants’ alleged adverse motives, motive alone cannot establish the requisite

19    knowledge of falsity. “[T]he actual malice standard is not satisfied merely through a showing of ill

20    will or ‘malice’ in the ordinary sense of the term.” Harte-Hanks Commc’ns, 491 U.S. at 666. In

21    particular, an alleged (but baseless) “profit motive” does not “somehow strip communications of

22    the otherwise available constitutional protections.” Id. at 667.

23           As for CHD’s letter, nothing in it establishes that Facebook or Mr. Zuckerberg knew or

24    harbored serious doubts as to the falsity of the warning label or fact-checks. The letter makes a

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26       To the extent CHD claims malice with respect to Facebook’s decision to post text from CHD’s
      Wikipedia entry because “Wikipedia’s reliability has been questioned,” SAC ¶ 124, that argument
27    is undermined by CHD’s own reliance on Wikipedia in its verified complaint, id. ¶ 244. And, even
      if Facebook was aware of Wikipedia’s general reputation—which CHD does not allege—that
28    reputation does not establish that Facebook knew that any information in CHD’s Wikipedia entry
      was false.
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1     number of claims about certain vaccines, most of which are wholly unrelated to the fact-checks at

2     issue. See, e.g., SAC Ex. A at 5 (claiming that 1976 swine flu vaccine—not otherwise referenced in

3     the SAC—was associated with increased frequency of Guillain-Barre syndrome). And the few

4     contentions in the letter relevant to the fact-checks identified in the SAC do not establish that those

5     fact-checks were false. For example, the letter’s claim that the live-virus oral polio vaccine was

6     discontinued because it “can itself cause paralytic polio,” SAC Ex. A at 6, does not establish that

7     Facebook knew that it was false to label as “inaccurate” and “lacking context” a post claiming that

8     the oral polio vaccine caused a polio outbreak in Africa. As the fact-check explained, “[t]he viruses

9     that cause vaccine-derived polio cases are different from that contained in the oral polio vaccine”

10    and vaccine-derived polio arises only in unvaccinated individuals exposed to viral shedding through

11    poor sanitation. See SAC ¶ 193. None of that is refuted by CHD’s letter.

12             Moreover, Facebook did not create the fact-checks itself. It relied on the conclusions and

13    detailed supporting analyses of independently certified third-party fact-checkers. And where a

14    publisher “relies upon the integrity of a reputable author,” it will “not be liable for an article later

15    shown to be false” absent “‘obvious reasons’ to doubt the truth of [the] article.” Chaiken v. VV

16    Publ’g Corp., 119 F.3d 1018, 1032 (2d Cir. 1997). As discussed, nothing in CHD’s letter created

17    such “obvious reasons” to doubt the fact-checks from IFCN-certified organizations.

18             CHD’s real complaint is that Defendants took action on its posts despite their awareness of

19    a difference of opinion regarding what CHD describes as an “open scientific controversy.” SAC

20    ¶ 161. But a “[d]ifference of opinion as to the truth of a matter” does not establish “that the defendant

21    acted with a knowledge of falsity.” Harte-Hanks Commc’ns, 491 U.S. at 681.

22    III.    THE CDA ALSO BARS CHD’S LANHAM ACT AND CIVIL RICO CLAIMS

23            (COUNTS 2 & 3)

24             Section 230 bars claims that seek to impose liability on decisions by platforms like Facebook

25    to make available or restrict content created by third parties. See Barnes v. Yahoo!, Inc., 570 F.3d

26    1096, 1102 (9th Cir. 2009). Section 230(c)(1) bars any claim that would treat a “provider” of an

27    “interactive computer service” as the “publisher” of content “provided by another information

28    content provider.” 47 U.S.C. § 230(c)(1). It therefore protects Facebook and Mr. Zuckerberg from
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1     claims based on making available third-party fact-checks and restriction of CHD’s content, as both

2     categories of content were created by third parties (either the fact-checkers or CHD).

3            Facebook and Mr. Zuckerberg are each “provider[s]” of an “interactive computer service.”

4     The Facebook platform is an “interactive computer service” that Facebook, Inc. provides. See, e.g.,

5     Sikhs for Justice (“SFJ”), Inc. v. Facebook, Inc., 144 F. Supp. 3d 1088, 1093 (N.D. Cal. 2015). As

6     for Mr. Zuckerberg, CHD’s allegations against him stem from his role in “direct[ing] and

7     control[ing] Facebook’s business.” SAC ¶ 19; see also, e.g., id. ¶¶ 52, 60, 84, 206. CHD, in other

8     words, seeks to hold Mr. Zuckerberg liable for “his role in making [an interactive computer service]

9     available.” Klayman v. Zuckerberg, 753 F.3d 1354, 1357-1358 (D.C. Cir. 2014). He is thus subject

10    to the same Section 230 protections as Facebook itself.

11           Section 230(c)(1) bars both of CHD’s primary theories. First, neither Facebook nor Mr.

12    Zuckerberg can be held liable for allegedly restricting user access to articles shared by CHD. Those

13    posts were either created by CHD or reposted by CHD from other non-Facebook websites, meaning

14    they were created by “another information content provider.” 47 U.S.C. § 230(c)(1). And imposing

15    liability for restricting access to CHD’s posts would treat Facebook and Mr. Zuckerberg as the

16    publisher of those posts: “‘[R]emoving content is something publishers do, and to impose liability

17    on the basis of such conduct necessarily involves treating the liable party as a publisher.’” Sikhs,

18    144 F. Supp. 3d at 1095 (quoting Barnes, 570 F.3d at 1103); see also Sikhs for Justice, Inc. v.

19    Facebook, Inc., 697 F. App’x 526, 526 (9th Cir. 2017); Fyk v. Facebook, Inc., 808 F. App’x 597,

20    598 (9th Cir. 2020); Federal Agency of News LLC v. Facebook, Inc., 432 F. Supp. 3d 1107, 1119-

21    1120 (N.D. Cal. 2020). 12

22           Second, CHD cannot hold Facebook or Mr. Zuckerberg liable for the overlays, warnings,

23    and explanations attached to CHD posts because those fact-checks were undisputedly created by

24    third parties (i.e., the fact-checkers), not Facebook or Mr. Zuckerberg. Binding Ninth Circuit

25    precedent draws a “crucial distinction between, on the one hand, taking actions (traditional to

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27      CHD’s allegations about 5G-related content fall solely in this category—the only allegations
      concerning any action Facebook took with regard to a CHD 5G post is that Facebook did not permit
28    CHD to “boost” a specific article about 5G’s health effects, and that Facebook “constrained,
      demoted or shadowbanned CHD’s 5G content” more generally. SAC ¶ 196.
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1     publishers) that are necessary to the display of unwelcome and actionable content and, on the other

2     hand, responsibility for what makes the displayed content illegal or actionable.” Kimzey v. Yelp!,

3     Inc., 836 F.3d 1263, 1269 n.4 (9th Cir. 2016). See also Jones v. Dirty World Entm’t Recordings,

4     LLC, 755 F.3d 398, 413-414 (6th Cir. 2014); Nemet Chevrolet, Ltd. v. Consumeraffairs.com, Inc.,

5     591 F.3d 250, 257-258 (4th Cir. 2009). This is because “the exercise of a publisher’s traditional

6     editorial functions … do not transform an individual into a ‘content provider’ within the meaning

7     of § 230.” Batzel v. Smith, 333 F.3d 1018, 1031 n.18 (9th Cir. 2003). Here, “responsibility for what

8     makes the displayed content illegal or actionable,” Kimzey, 836 F.3d at 1269 n.4, rests squarely with

9     the fact-checkers, not Facebook or Mr. Zuckerberg, because it is the fact-checkers—not Facebook

10    or Mr. Zuckerberg—who allegedly determined whether CHD’s posts were false.

11           Facebook’s alleged involvement in the fact-checking process, by contrast, consisted of

12    providing a “neutral tool” that operated on the “voluntary inputs” of third parties. Kimzey, 836 F.3d

13    at 1270. For example, Facebook allegedly developed technology that reproduced the results of fact-

14    checks on gray overlays superimposed on the CHD posts to which they applied. See, e.g., SAC

15    ¶¶ 115-118. This type of automated display of content created by third parties—i.e., the combination

16    of a “neutral means” with an “automated editorial act”—does not make Facebook the creator of the

17    third-party content. Marshall’s Locksmith Service, Inc. v. Google, LLC, 925 F.3d 1263, 1271 (D.C.

18    Cir. 2019) (use of “automated algorithms” to convert “third party indicia of location into pictorial

19    form” did not make Google the partial creator of resulting “map pinpoints”). It is instead analogous

20    to Yelp’s translation of user ratings into its proprietary star-rating system, which the Ninth Circuit

21    has held does “not amount to content development.” Kimzey, 836 F.3d at 1270 (quoting Fair

22    Housing Council v. Roommates.com, LLC, 521 F.3d 1157, 1172 (9th Cir. 2008)). The same is true

23    of the other actions that CHD challenges, including the disabling of CHD’s ability to advertise or

24    fundraise through Facebook and the addition of a header to CHD’s page referring users to third-

25    party sources of information about CHD and vaccines. 13

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27      CHD repeatedly insists that Roommates.com compels a different result because there the Ninth
      Circuit held Section 230(c)(1) did not apply to a website that “creat[ed] … question-and-answer
28    sets” for users to fill out. E.g., SAC ¶ 295. But the key to that holding was that the website required
      users to provide information that assertedly violated fair housing laws. 521 F.3d at 1166. The
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1            The alleged use of algorithms to identify posts that might be of interest to fact-checkers,

2     SAC ¶ 88, likewise does not take Defendants outside of Section 230(c)(1). “[R]ecommendations …

3     are tools meant to facilitate the communication and content of others. They are not content in and

4     of themselves.” Dyroff v. Ultimate Software Grp., Inc., 934 F.3d 1093, 1098 (9th Cir. 2019)

5     (emphasis added); see also Force v. Facebook, Inc., 934 F.3d 53, 66 (2d Cir. 2019).

6            CHD’s remaining arguments are equally meritless. CHD vaguely alludes to the “evident[]”

7     substance of instructions Facebook provided to the third-party fact-checkers. SAC ¶¶ 89-90. But

8     this Court need not accept “allegations that are merely conclusory,” In re Gilead Sciences Securities

9     Litig., 536 F.3d 1049, 1055 (9th Cir. 2008)—particularly given the far “more likely” explanation

10    that the fact-checkers independently determined that posts that contravened scientific consensus

11    were false or misleading, see Iqbal, 556 U.S. at 680.

12           Nor can CHD evade Section 230 by alleging that Facebook altered other fact-checks. See

13    SAC ¶ 90. “Section 230 immunity can apply even if Facebook is responsible for other alleged

14    ‘content’ on its website, as Section 230 ‘still bar[s] [Plaintiffs’] claims unless [Facebook] created or

15    developed the particular information at issue.’” Federal Agency of News LLC, 432 F. Supp. 3d at

16    1118 (quoting Carafano v. Metrosplash.com, Inc., 339 F.3d 1119, 1125 (9th Cir. 2003)) (emphasis

17    added). CHD does not allege that any fact-checks on its posts were changed at all, much less at

18    Facebook’s direction, see SAC ¶¶ 115-172, 176-197, and that is all that matters.

19           Moreover, neither Facebook’s payment of the fact-checkers for their services, see SAC

20    ¶¶ 21, 91, nor its donations to the Silicon Valley Community Foundation (which is alleged to have

21    made donations to Poynter), see id. ¶¶ 47, 94-97, affects the analysis above. Paying someone to

22    create content does not strip an interactive service provider of Section 230(c)(1) immunity. See

23    Blumenthal v. Drudge, 992 F. Supp. 44, 51-52 (D.D.C. 1998); see also Levitt v. Yelp! Inc., 2011

24    WL 5079526, at *8 (N.D. Cal. Oct. 26, 2011) (“traditional editorial functions often include

25    subjective judgments informed by political and financial considerations”).

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27
      website’s mandatory policy thus directly contributed to “what makes the displayed content illegal
28    or actionable.” Kimzey, 836 F.3d at 1269 n.4. Here, by contrast, the judgement about what content
      was false was made by the third-party fact-checkers alone, not by Facebook.
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1             In sum, despite having notice of Defendants’ Section 230(c)(1) defense and the benefit of

2     multiple amendments, CHD has not alleged that Facebook’s fact-checker program is anything more

3     than a series of protected editorial decisions regarding third-party content.

4     IV.    CHD HAS NOT STATED A CLAIM UNDER THE LANHAM ACT (COUNT 2)

5             Even absent immunity, the SAC fails to state a claim. CHD cannot shoehorn disagreement

6     about an “ongoing scientific controversy” into a Lanham Act false advertising claim. The Lanham

7     Act exists to “protect persons engaged in … commerce against unfair competition.” 15 U.S.C.

8     § 1127. It regulates false advertising in the interest of fair commercial competition, not disputes

9     over the veracity of public-health claims between publishers and those who use their platforms.

10           A.      CHD Lacks Standing Under The Lanham Act

11            “The Lanham Act creates a cause of action for unfair competition through misleading

12    advertising or labeling.” Pom Wonderful v. Coca-Cola Co., 573 U.S. 102, 107 (2014). “[T]he cause

13    of action is for competitors, not consumers.” Id. To come within its “zone of interests,” therefore,

14    “a plaintiff must allege an injury to a commercial interest in reputation or sales,” i.e., harm to its

15    “position in the marketplace.” Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118,

16    129, 131-132, 137 (2014). CHD does not and cannot allege such an injury because it does not

17    compete with Facebook in any commercial “marketplace.” It alleges only competition as to

18    “messaging,” but the Lanham Act is restricted to “business competitors.” Animal Legal Defense

19    Fund v. HVFG LLC, 939 F. Supp. 2d 992, 1000 (N.D. Cal. 2013). “A theoretical educational

20    competition for the ‘hearts and minds’ of consumers is insufficient to give [CHD] Lanham Act

21    standing.” Id.; accord Farah v. Esquire Magazine, 736 F.3d 528, 541 (D.C. Cir. 2013).

22            Indeed, CHD’s alleged injuries are those of a consumer. CHD claims that it was injured

23    because Facebook limited the “visibility and reach” of its Facebook Page, which in turn reduced

24    CHD’s advertising revenue, website traffic, and goodwill. SAC ¶¶ 201, 225, 226. These alleged

25    harms all purportedly resulted from Facebook’s “enforcement of its policies to those who post on

26    its website,” and are therefore injuries “incurred by interacting with [Facebook] as a consumer, not

27    as a competitor.” Lewis, 461 F. Supp. 3d at 958. CHD accordingly lacks statutory standing under

28    the Lanham Act.
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1            B.      The SAC Does Not Identify A Promotional Statement

2             CHD independently fails to state a claim under the Lanham Act because it has not alleged

3     the first element of a false advertising claim: “a false statement of fact by the defendant in a

4     commercial advertisement about its own or another’s product,” Southland Sod Farms v. Stover Seed

5     Co., 108 F.3d 1134, 1139 (9th Cir. 1997)—i.e., a “promotion[al]” statement, Coastal Abstract Serv.,

6     Inc. v. First Am. Title Ins. Co., 173 F.3d 725, 735 (9th Cir. 1999). To qualify as promotional, a

7     statement must be “encompassed within the ‘commercial speech’ doctrine developed by the United

8     States Supreme Court.” Gordon & Breach Science Pubs. S.A. v. American Inst. of Physics, 859 F.

9     Supp. 1521, 1533-1534 (S.D.N.Y. 1994) (quoting 134 Cong. Reg. 31,851 (Oct. 19, 1988) (statement

10    of Rep. Kastenmeier)). This is a “constitutional requirement” that prevents the Act from burdening

11    “the type [of speech] which raise[s] free speech concerns, such as … reviews … [and]

12    misrepresentations made by interested groups which may arguably disparage a company and its

13    products.” Id. at 1533, 1536 (second quoting 135 Cong. Rec. H1216-17135 (Apr. 13, 1989)

14    (statement of Rep. Kastenmeier)) (emphasis omitted).

15            The SAC does not identify any purportedly false commercial speech. CHD hangs its Lanham

16    Act claim on the “warning label and ‘fact checks’” published on CHD’s Page, SAC ¶ 330, but

17    neither provides the constitutionally required commercial hook. Commercial speech is that which

18    “does no more than propose a commercial transaction.” Virginia State Bd. of Pharmacy v. Virginia

19    Citizens Consumer Council, Inc., 425 U.S. 748, 762 (1976). The challenged warnings and fact

20    checks do not propose commercial transactions at all. Instead, they describe the content of CHD’s

21    Page, SAC ¶ 70; direct viewers to additional information about vaccine safety, id.; and categorize

22    various CHD posts as containing “false” or “partly false” information, e.g. id. ¶¶ 115, 129.

23            That the warning and fact-checks were allegedly published as “part of Facebook’s ongoing

24    ‘vaccine misinformation’ public relations campaign,” as part of “Facebook’s business model” of

25    “manufactur[ing] users’ ‘trust,’” SAC ¶ 332, does not make them commercial in nature. First, even

26    if true that Facebook derived some financial benefit from the warning label and fact-checks,

27    “economic motive in itself is insufficient to characterize a publication as commercial.” Dex Media

28    W., Inc. v. City of Seattle, 696 F.3d 952, 960 (9th Cir. 2012). Second, the SAC does not identify
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1     anything in the warning label or fact-checks that relate to Facebook’s alleged business model of

2     building trust regarding “user privacy and data security.” SAC ¶ 332. The warning label and fact-

3     checks communicate information about CHD’s posts, not Facebook own services. Faced with a

4     similar claim regarding YouTube’s designation of videos for its “Restricted Mode,” the Ninth

5     Circuit held that neither YouTube’s statements about its content moderation policies nor its

6     designation of certain videos for “Restricted Mode” constituted promotional speech cognizable

7     under the Lanham Act. See Prager Univ. v. Google, LLC, 951 F.3d 991, 999-1000 (9th Cir. 2020).

8            And to the extent CHD alleges that the warning label and fact-checks are promotional

9     because they are part of a vaccination-education campaign that Facebook separately promotes as

10    key to its efforts to improve the reliability of information on Facebook, that, too, fails. Speech does

11    not become promotional simply because it is the object of a promotion. For example, in Rice v. Fox

12    Broadcasting Co., the Ninth Circuit held that the statement “tonight, for the first time on television

13    …,” when made as part of a television broadcast, fell beyond the Lanham Act because it “was part

14    of the show itself, and was not made in promotion or marketing of the [show].” 330 F.3d 1170, 1181

15    (9th Cir. 2003), overruled on other grounds by Skidmore v. Led Zeppelin, 952 F.3d 1051 (9th Cir.

16    2020). Accordingly, CHD has not stated a Lanham Act claim. 14

17    V.    CHD HAS NOT STATED A CIVIL RICO CLAIM (COUNT 3)

18           The civil RICO statute “‘was enacted with a goal of eradicating organized, long-term

19    criminal activity.’” Royce International Broadcasting Corp. v. Field, 2000 WL 236434, at *4 (N.D.

20    Cal. Feb. 23, 2000) (quoting Midwest Grinding Co. v. Spitz, 976 F.2d 1016, 1025 (7th Cir. 1999)).

21    This Court has thus recognized that plaintiffs “‘fit a square peg in a round hole by squeezing garden-

22    variety business disputes into civil RICO actions.’” Id. Courts should be particularly wary of

23    extending civil RICO’s “somewhat elastic” predicate acts to encompass “fully protected First

24    Amendment activity.” National Org. for Women, Inc. v. Scheidler, 510 U.S. 249, 264 (1994)

25    (Souter, J., concurring). That is what CHD has attempted here, by transforming a complaint about

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        Setting aside these defects, CHD has not pleaded the falsity of the alleged false statements with
28    Rule 9(b) specificity. See TransFresh Corp. v. Ganzerla & Assoc., 862 F. Supp. 2d 1009, 1017-
      1018 (N.D. Cal. 2012).
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1     Defendants’ protected First Amendment activity and enforcement of Facebook’s terms of service

2     into a civil RICO claim subject to treble damages. Civil RICO does not stretch so far.

3           A.      CHD Has Not Pleaded Any Predicate Act Of Wire Fraud

4            To plead a civil RICO claim, a plaintiff must identify “racketeering activity (known as

5     predicate acts).” Eller v. EquiTrust Life Ins. Co., 778 F.3d 1089, 1092 (9th Cir. 2015). And because

6     CHD’s civil RICO claim sounds in fraud, it must satisfy the specificity requirements of Rule 9(b).

7     Comwest, Inc. v. American Operator Serv., Inc., 765 F. Supp. 1467, 1473 (C.D. Cal. 1991). CHD

8     identifies two sets of statements it calls “wire fraud”—statements made to visitors to CHD’s Page

9     (i.e., fact-checks and warning labels) and statements made to CHD itself or its agents (e.g.,

10    concerning CHD’s ability to purchase advertising). Both categories are hopelessly flawed. 15

11           The first set of statements are not fraudulent at all because they neither aimed to, nor

12    succeeded in, obtaining money or property for Facebook or Mr. Zuckerberg from visitors to CHD’s

13    Page. “The wire fraud statute … prohibits only deceptive ‘schemes to deprive [the victim of] money

14    or property.’” Kelly v. United States, 140 S. Ct. 1565, 1571 (2020) (alteration in original). Binding

15    Ninth Circuit precedent accordingly establishes that a successful claim of wire fraud requires

16    showing that the defendant “obtain[ed] money or property from the one who is deceived.” United

17    States v. Lew, 875 F.2d 219, 221 (9th Cir. 1989) (emphasis added); see also Monterey Plaza Hotel

18    L.P. v. Local 483, 215 F.3d 923, 926-927 (9th Cir. 2000). The SAC nowhere alleges that Defendants

19    obtained money or property from visitors to CHD’s Page (despite acknowledging Defendants’ prior

20    argument on this point, see SAC ¶ 384). That alone defeats its wire fraud claim. See Sugarman v.

21    Muddy Waters Capital LLC, 2020 WL 633596, at *3 (N.D. Cal. Feb. 3, 2020).

22           Nor can CHD sidestep these requirements that claiming that CHD itself was deprived of

23    money or property by the statements Facebook affixed to its Page, because CHD cannot credibly

24    claim that CHD itself was deceived by those statements. This entire lawsuit stems from CHD’s

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         CHD also suggests (SAC ¶ 379) that Defendants violated 18 U.S.C. § 1951, but that provision
27    applies only to one who “obstructs, delays, or affects commerce or the movement of any article or
      commodity in commerce, by robbery or extortion or attempts or conspires to do so, or commits or
28    threatens physical violence to any person or property” 18 U.S.C. § 1951(a). Because CHD does
      not claim that Defendants threatened violence against or extorted CHD, Section 1951 is irrelevant.
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1     vehement disagreement with the content of the fact-checks and warning labels—it cannot now assert

2     that those same statements somehow deceived it. See Sugarman, 2020 WL 633596, at *3.

3             As for the second category of statements and omissions (i.e., statements to CHD and its

4     agents concerning CHD’s ability to use certain Facebook functions and the reach of CHD’s posts),

5     CHD has not pleaded that any of those statements or omissions were false or misleading. CHD

6     complains that Facebook lied when it told CHD that its “donate” button was deactivated because

7     CHD violated Facebook’s terms of service “by posting ‘false information’ with respect to vaccines,”

8     SAC ¶¶ 79(A), 80, 192. But even assuming those statements were pleaded with particularity (they

9     are not), CHD has no reasonable argument that these statements misled it, especially given its

10    strongly held view that it was not, in fact, violating the terms of service. See Sosa v. DIRECTV, Inc.,

11    437 F.3d 923, 941 (9th Cir. 2006). CHD also complains that Facebook misled CHD’s advertising

12    agency by saying that CHD “had repeatedly posted content that has been disputed by third-party

13    fact-checkers [for] promoting false content,” id. ¶ 199; see also id. ¶ 79(B). But the SAC alleges

14    that, by April 2020 (when the agency purportedly received this message) CHD had been told

15    multiple times that third-party fact-checkers disputed its posts. See SAC ¶¶ 115-197. (And, in any

16    event, Facebook allegedly prevented the agency from buying Facebook ads—meaning Facebook

17    could not possibly have defrauded the agency of any money or property. See Lew, 875 F.2d at 221).

18            CHD additionally claims that Facebook misled it by misrepresenting that Facebook did not

19    use proprietary mechanisms to restrict the reach of CHD content deemed vaccine misinformation.

20    See SAC ¶ 79(E). But it nowhere identifies (certainly not with specificity) any particular false

21    misrepresentation Facebook made. And, to the extent CHD means to rely on an omission theory,

22    “[a]bsent an independent duty, such as a fiduciary duty or an explicit statutory duty, failure to

23    disclose cannot be the basis of a fraudulent scheme” giving rise to a civil RICO cause of action.

24    California Architectural Bldg. Prods., Inc. v. Franciscan Ceramics, Inc., 818 F.2d 1466, 1472 (9th

25    Cir. 1987). CHD has identified no duty this purported failure to disclose breached—much less a

26    fiduciary duty or explicit statutory one.

27            Finally, even if CHD could claim that it was deceived by what it calls “wire fraud,” it cannot,

28    as a logical matter, allege that Defendants diverted to themselves the web traffic, donations, or “trade
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1     reputation and goodwill” CHD claims it lost. See SAC ¶¶ 225-226, 384-385. That, too, defeats their

2     civil RICO claims. See Monterey Plaza Hotel, 215 F.3d at 926-927.

3            B.      CHD Lacks Statutory Standing To Bring A Civil RICO Claim

4             CHD must also plead “some direct relation between the injury asserted and the injurious

5     conduct alleged,” Canyon Cty. v. Syngenta Seeds, Inc., 519 F.3d 969, 981 (9th Cir. 2008) (quoting

6     Holmes v. Securities Investor Prot. Corp., 503 U.S. 258, 268 (1992)) (emphasis added). This

7     requirement “is not easily met,” Sheperd v. American Honda Motor Co., 822 F. Supp. 625, 629

8     (N.D. Cal. 1993), because it requires a plaintiff to establish that the predicate acts constituting a

9     pattern of racketeering activity (here, wire fraud) “not only [were] a ‘but for’ cause of his injury,

10    but [were] the proximate cause as well,” Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 457 (2006).

11            CHD has not carried this burden. It claims that statements affixed to its Page dissuaded the

12    public from reviewing CHD’s posts, which in turn decreased traffic to CHD’s website, which in

13    turn caused CHD to lose donations and membership fees. See, e.g., SAC ¶¶ 375, 383-385. That

14    multi-step theory of causation cannot be squared with “the general tendency of the law,” including

15    in civil RICO cases, “not to go beyond the first step” in the causal chain. Holmes, 503 U.S. at 271.

16            That “general tendency” has special force here, because CHD’s claimed injuries “could have

17    resulted from factors other than [Defendants’] alleged acts of fraud,” Anza, 547 U.S. at 459,

18    including, for example: “the state of the economy,” CHD’s “quality of service,” or “customer

19    satisfaction and referrals,” Ozeran v. Jacobs, 2018 WL 1989525, at *9 (C.D. Cal. Apr. 25, 2018),

20    aff’d, 798 F. App’x 120 (9th Cir. 2020). Because “[b]usinesses lose and gain customers for many

21    reasons, and it would require a complex assessment to establish what portion” of CHD’s lost

22    donations and membership fees were the direct result of alleged fraud and which portion were due

23    to other forces. Anza, 547 U.S. at 459. This Court should follow the lead of the many other courts

24    that have held that lost customers or lost business cannot support a civil RICO claim. See, e.g., id.

25    at 458-460; Holmes, 503 U.S. at 272-273; Sybersound Records, Inc. v. UAV Corp., 517 F.3d 1137,

26    1148 (9th Cir. 2008).

27           C.      CHD Has Not Pleaded A RICO “Pattern”

28            Finally, CHD’s civil RICO claim fails for the additional reason that CHD has not identified
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1     a cognizable “pattern” of criminal racketeering activity. See 18 U.S.C. § 1962(c). The “pattern”

2     requirement is not satisfied where, “although [the plaintiff] alleges a number of ‘acts,’ [the

3     defendant’s] collective conduct is in a sense a single episode having the singular purpose of

4     impoverishing [plaintiff].” Sever v. Alaska Pulp Corp., 978 F.2d 1529, 1535 (9th Cir. 1992); see

5     also Aviation Support International v. Northrop Grumman Corp., 221 F.3d 1347 (9th Cir. 2000).

6             But that is precisely what CHD has alleged here. At bottom, it complains that Defendants

7     worked together “to censor and suppress CHD’s posting of material critical of [the CDC and WHO]

8     and voicing alternative views concerning the safety and efficacy of vaccines,” SAC ¶ 1, and that

9     Defendants’ actions caused CHD individualized harm, SAC ¶ 391. Thus, even if cognizable as

10    predicate acts, the multiple purported acts of wire fraud therefore collapse into “a single episode”

11    with a “singular purpose,” and do not constitute a civil RICO “pattern.” Sever, 978 F.2d at 1535.

12    Indeed, this Court reached a similar conclusion in Royce International Broadcasting Corp., holding

13    that a purported scheme that targeted just one business, and that allegedly resulted in losses to that

14    business only, was not a civil RICO “pattern.” 2000 WL 236434.

15    VI.    CHD HAS NOT STATED ANY CLAIM AGAINST MARK ZUCKERBERG

16            All else aside, the SAC states no claim against Mr. Zuckerberg because it does not plausibly

17    allege his personal involvement in the conduct at issue. Personal liability under each Count requires

18    direct involvement in the allegedly unlawful conduct: for Bivens, “a plaintiff must plead that each

19    Government-official defendant, through the official’s own individual actions, has violated the

20    Constitution,” Iqbal, 556 U.S. at 676; the Lanham Act imposes individual liability on corporate

21    officers only for conduct they “authorize[] or direct[] or in which [they] participate[],” POM

22    Wonderful LLC v. Purely Juice, Inc., 362 F. App’x 577, 581 (9th Cir. 2009); and individual liability

23    under civil RICO requires “participat[ion] in the operation or management of the enterprise itself,”

24    Reves v. Ernst & Young, 507 U.S. 170, 185 (1993). Moreover, the Lanham Act and civil RICO

25    claims must satisfy the heightened pleading standards of Rule 9(b) because they sound in fraud.

26    Schreiber Distrib. Co. v. Serv-Well Furniture Co., 806 F.2d 1393, 1400-1401 (9th Cir. 1986) (civil

27    RICO); TransFresh Corp., 862 F. Supp. 2d at 1014, 1017-1018 (Lanham Act). And Rule 9(b)

28    requires a plaintiff to “identify the role of each defendant in the alleged fraudulent scheme” when
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1     pleading fraud-based claims. Openwave Sys. Inc. v. Fuld, 2009 WL 1622164, at *5 (N.D. Cal. June

2     6, 2009) (citation omitted).

3             The SAC does not plausibly allege that Mr. Zuckerberg was personally involved in any of

4     the allegedly unlawful conduct. See supra pp.11-12. In lieu of particularized allegations, the SAC

5     makes general allegations concerning Mr. Zuckerberg, describing his “commentaries on public

6     heath,” including public comments regarding the importance of vaccines, SAC ¶ 260, 266, 268;

7     “CZI’s for-profit vaccine development,” id. ¶ 260; Mr. Zuckerberg’s alleged donation of $25

8     million to the CDC Foundation, id. ¶ 267; and Mr. Zuckerberg’s alleged reluctance for Facebook to

9     fact-check political advertising, id. ¶ 271. These allegations do not plausibly add up to CHD’s

10    conclusion that “it is highly probable” Mr. Zuckerberg personally acted in concert with the federal

11    government or otherwise denied CHD of its constitutional or competitive rights. E.g., id. ¶ 260.

12    Accordingly, Mr. Zuckerberg cannot be personally liable under either Bivens, see supra pp.11-12,

13    or the Lanham Act, see Openwave Sys., Inc., 2009 WL 1622164, at *5. And, as for civil RICO, to

14    the extent the SAC alleges that Mr. Zuckerberg has some involvement in Facebook’s “content

15    management” decisions, that does not demonstrate that he operated or managed the alleged RICO

16    enterprise. The SAC says only that Mr. Zuckerberg was personally involved in decisions whether

17    to remove two instances of political speech unrelated to CHD, vaccines, or 5G. See SAC ¶ 271.

18    Without an allegation that those decisions were unlawful, they cannot support RICO liability;

19    personal involvement in decisions “separate and apart from any alleged racketeering acts” does not

20    suffice. Ferrari v. Mercedes-Benz USA, LLC, 2016 WL 7188030, at *3 (N.D. Cal. Dec. 12, 2016).

21            Moreover, while CHD purports to state claims against Mr. Zuckerberg under theories of

22    respondeat superior, alter ego, and agency liability, it has not established the prerequisites for any

23    of those theories. First, Mr. Zuckerberg cannot be held liable under a theory of respondeat superior

24    just because he is a controlling shareholder and corporate officer, SAC ¶ 17; “[C]ontrolling

25    shareholders and corporate officers [are] not … liable under respondeat superior because they [are]

26    not the actual employers,” Hollinger v. Titan Capital Corp., 914 F.2d 1564, 1577 (9th Cir. 1990).

27    Second, CHD fails to allege alter ego liability because it has not alleged any disregard for corporate

28    formalities. See, e.g., Ministry of Defense of the Islamic Republic of Iran v. Gould, Inc., 969 F.2d
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1     764, 769 (9th Cir. 1992). Third, as to agency liability, CHD again fails to plead the requisite

2     elements—including, for example, that the purported agents have the authority to alter legal

3     relations between the Mr. Zuckerberg and third parties—let alone pleaded them with the specificity

4     required by Rule 9(b). See RPost Holdings, Inc. v. Trustifi Corp., 2011 WL 4802372, at *4 (C.D.

5     Cal. Oct. 11, 2011) (Rule 9(b) applies to pleading agency theory of liability for fraud-based claims).

6             Even with the benefit of multiple amendments, the most CHD has been able to muster are

7     conclusory assertions that “it is highly probable” that Mr. Zuckerberg was involved the allegedly

8     unlawful conduct, SAC ¶ 260, and the incantation of various doctrines of vicarious liability, id. ¶ 17.

9     None of that is sufficient to state a claim under Rule 12(b).

10    VII. CHD STATES NO CLAIM WITH RESPECT TO 5G-RELATED CONTENT

11            The SAC also addresses 5G network safety, SAC ¶¶ 241-259, Facebook’s efforts to remove

12    misleading information about 5G networks, id. ¶ 74, and Facebook’s alleged interest in promoting

13    5G, id. ¶¶ 284-293, but does not even attempt to state any claim on the basis of efforts to remove

14    misleading 5G information. CHD alleges only that Facebook did not allow it to “boost” a 5G-related

15    post, see id. ¶ 196, but disclaims any governmental involvement in Facebook’s treatment of 5G-

16    related content, id. ¶ 292, thereby defeating any Bivens claim. And while CHD says that Facebook

17    “misrepresent[ed] … that [CHD’s] 5G-related [content was] more widely-available,” id. ¶ 196, it

18    does not identify any such statement, thereby precluding any Lanham Act or civil RICO claim.

19    VIII. CHD IS NOT ENTITLED TO DECLARATORY RELIEF (COUNT 4)

20            “[T]he Declaratory Judgment Act creates a remedy for litigants but is not an independent

21    cause of action.” County of Santa Clara v. Trump, 267 F. Supp. 3d 1201, 1215-1216 (N.D. Cal.

22    2017). As CHD has failed to state any claim, it is not entitled to declaratory relief.

23                                              CONCLUSION

24           The Second Amended Complaint should be dismissed with prejudice.

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2     Dated: December 21, 2020                     WILMER CUTLER PICKERING, HALE AND
                                                   DORR LLP
3
                                                   By:   /s/ Sonal N. Mehta
4                                                        SONAL N. MEHTA

5                                                  Attorney for Defendants
                                                   Facebook, Inc. and Mark Zuckerberg
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1                                      CERTIFICATE OF SERVICE

2           I hereby certify that on December 21, 2020, I electronically filed the above document with

3    the Clerk of the Court using CM/ECF which will send electronic notification of such filing to all

4    registered counsel.

5

6     Dated: December 21, 2020                           By:   /s/ Sonal N. Mehta
                                                                Sonal N. Mehta
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